                                           THE CITY OF NEW YORK
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                                                                        February 16,2018


       Honorable William H. Pauley, III
       United States District Court for the Southern District of New York
       Daniel Patrick Moynihan United States Courthouse
       500 Pearl Street
       New York, NY 10007-1312


                      Re: fJrrohcc V Turenfrr-F'ircf (-enfrrnr F nw   Tnn   et   e7   Case   No. 1:11-cv-07093
                           (SDNYXWHP) Letter-Request to File a Brief on Constitutionality of Local
                           Law


       Dear Judge Pauley


                       I write on behalf of the City of New York (the "City") for permission to file a
       brief defending the constitutionality of NYC Administrative Code $$ 8-903, 8-904. This local
       law provides a civil cause of action for a person "claiming to be injured by an individual who
       commits a crime of violence motivated by gender . . . ." Ad. Code $8-904. A "crime of violence
       motivated by gender" is defined to mean "a crime of violence committed because of gender or on
       the basis of gender, and due, at least in part, to an animus based on the victim's gender." Ad.
       Code $8-903 (b). The City was served with a "Notice of Constitutional Challenge Pursuant to
       N.Y.C.P.L.R. 1012(b)(2)" on February 6,2018, pursuant to which attorneys for Mr. Charles
       Payne, a defendant in this case, notified the City that his motion to dismiss the amended
       complaint involves the constitutionality of a local law.


                       The City requests permission to file a brief, no more than ten pages, defending the
       constitutionality of this law, by March 16,2018.
                                                       Respectfully submitted,


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                                                       Doris F. Bernhardt
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                                                       Litigation Division




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